        Case: 3:19-cv-00099-MPM-RP Doc #: 1 Filed: 05/10/19 1 of 4 PageID #: 1



                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION


JOSSIE FIFER, individually, and as mother and
next best friend, and person representative of
MARVIN FIFER, JR., and on behalf of the
wrongful death beneficiaries of
MARVIN FIFER, JR.,

       Plaintiff,

v.                                                                     3:19cv099-MPM-RP
                                                                   No.____________________

RJ PROPERTY MANAGEMENT, LLC,

       Defendant.


     DEFENDANT RJ PROPERTY MANAGEMENT, LLC’S NOTICE OF REMOVAL


       Defendant, RJ Property Management, LLC (“RJ Property”), pursuant to 28 U.S.C. § 1441

et seq., and removes the action styled Jossie Fifer et al. v. RJ Property Management, LLC,

originally filed in the Circuit Court for the State of Mississippi, Seventeenth Judicial District,

Desoto County, Docket No. 17C 1:19-cv-00179-GC (the “State Court action”), to the United

States District Court for the Northern District of Mississippi, Oxford Division, and states as

follows:

       1.      This action was commenced by Plaintiff’s filing of a Complaint in the Circuit

Court of Desoto County, Mississippi on April 4, 2019. True and correct copies of the Summons

and Complaint are attached as Exhibit “1.”

       2.      Plaintiff, a Mississippi resident, brought this action against the RJ Property. See

Exhibit “1” at ¶ 2.
       Case: 3:19-cv-00099-MPM-RP Doc #: 1 Filed: 05/10/19 2 of 4 PageID #: 2



       3.      RJ Property was served with Plaintiff’s Complaint on or about April 23, 2019.

Accordingly, this Notice of Removal is filed timely pursuant to 28 U.S.C. § 1446(b) as it is filed

within 30 days of RJ Property being served with the Complaint. To RJ Property’s knowledge, no

further proceedings have been filed in the Circuit Court of Desoto County, Mississippi.

       4.      As more fully set out below, the State Court action is properly removable to this

Court pursuant to 28 U.S.C. § 1441 because RJ Property has satisfied the procedural

requirements for removal and because this Court has subject-matter jurisdiction over this action

pursuant to 28 U.S.C. § 1332.

       5.      RJ Property is the only named defendant in this action.

                                 DIVERSITY JURISDICTION

       6.      Plaintiff is a resident of the State of Mississippi. See Exhibit 1, ¶ 2.

       7.      RJ Property is a Tennessee limited liability company with its principal place of

business in Tennessee. RJ Property has three members. Each of RJ Property’s members is a

resident of the State of Tennessee. Specifically, the three members reside in Shelby County,

Tennessee.

       8.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332. The

parties are citizens of different states. Plaintiff is a citizen of Mississippi and RJ Property is a

citizen of Tennessee by virtue of the fact that its members are residents of Tennessee.

Additionally, while Plaintiff did not demand a certain amount of damages, it seems that the

amount in controversy exceeds the sum of $75,000, exclusive of costs and interest, as this is a

wrongful death action being brought against RJ Property.




                                                  2
        Case: 3:19-cv-00099-MPM-RP Doc #: 1 Filed: 05/10/19 3 of 4 PageID #: 3



                     ASSERTION AND RESERVATION OF DEFENSES

       9.      Nothing in this Notice of Removal is or shall be interpreted as a waiver or

relinquishment of any of RJ Property’s rights to assert any defense or affirmative matter, which

rights, defenses and affirmative matters RJ Property specifically reserves, including but not

limited to, the defenses of: (1) lack of jurisdiction over the person; (2) improper venue or for

transfer of venue; (3) insufficiency of process; (4) insufficiency of service of process; (5)

improper joinder of claims; (6) failure to state a claim; or (7) any other defense available under

the Mississippi Rules of Civil Procedure, the Federal Rules of Civil Procedure, any state or

federal statute, or otherwise.

                                 PROCEDURAL REQUIREMENTS

       10.     This Notice of Removal has been filed within thirty (30) days of RJ Property

being served with Plaintiff’s Complaint, in compliance with 28 U.S.C. § 1446(b).

       11.     This action is a “civil action” within the meaning of the Acts of Congress relating

to the removal causes.

       12.     The entire record of the State Court Action is attached hereto as Exhibit “2.”

       13.     RJ Property has sought no similar relief previously.

       14.     RJ Property reserves the right to amend or supplement this Notice of Removal.

       15.     This Notice of Removal has been contemporaneously served on Plaintiff and filed

with the Clerk of the Circuit Court of Desoto County, Mississippi. A copy of RJ Property’s

Notice of Filing Notice of Removal is attached as Exhibit “3” and is incorporated by reference.

       WHEREFORE, RJ Property Management, LLC respectfully removes this action,

bearing Case No. 17C 1:19-cv-00179-GC, from the Circuit Court of Desoto County, Mississippi

to this Court, pursuant to 28 U.S.C. § 1441, et seq. and prays that this Court take jurisdiction




                                                3
         Case: 3:19-cv-00099-MPM-RP Doc #: 1 Filed: 05/10/19 4 of 4 PageID #: 4



over this action and issue all necessary orders and process to remove this action from the Circuit

Court of Desoto County to the United States District Court for the Northern District of

Mississippi, Oxford Division.



                                                    Respectfully submitted,

                                                    GLANKLER BROWN, PLLC

                                                    By:     /s/ Andre B. Mathis
                                                            John I. Houseal, Jr. (#105005)
                                                            Andre B. Mathis (#104404)

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                                                    E-Mail: amathis@glankler.com

                                                    Attorneys for Defendant        RJ    Property
                                                    Management, LLC


                                CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing has been served upon all counsel of
record, by electronic means via the Court’s electronic filing system, on this the 10th day of May,
2019.

                                                            /s/ Andre B. Mathis


4847-9878-8245, v. 1




                                                4
